Case 18-09108-RLM-11              Doc 260        Filed 02/15/19         EOD 02/15/19 15:39:55              Pg 1 of 7



                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION


    In re:                                                           Chapter 11
                            1
    USA GYMNASTICS,                                                  Case No. 18-09108-RLM-11

                      Debtor.

         OBJECTION OF THE ADDITIONAL TORT CLAIMANTS
       COMMITTEE OF SEXUAL ABUSE SURVIVORS TO DEBTOR’S
      MOTION FOR ORDER AUTHORIZING THE DEBTOR TO ASSUME
EXECUTORY CONTRACT WITH SPENCER STUART PURSUANT TO 11 U.S.C. § 365

             The Additional Tort Claimants Committee of Sexual Abuse Survivors (the “Sexual

Abuse Survivors’ Committee”), appointed in this case under chapter 11 of Title 11 of the United

States Code (the “Bankruptcy Code”), hereby submits this objection to the Debtor’s Motion for

Order Authorizing the Debtor to Assume Executory Contract with Spencer Stuart Pursuant to 11
                                                2
U.S.C. § 365 (the “Motion”) [Doc 223]. In further support of its objection, the Sexual Abuse

Survivors’ Committee states as follows:

                                      PRELIMINARY STATEMENT

             1.     The Sexual Abuse Survivors’ Committee objects to assumption of the Spencer

Stuart Contract because the Debtor has not demonstrated that assumption is within its business

judgment. The Motion does not disclose whether a chief executive officer (“CEO”) has been

selected or the efforts actually undertaken by Spencer Stuart to select a CEO. Without disclosing



1
 The last four digits of the Debtor’s federal tax identification number are 7871. The location of the Debtor’s
principal office is 130 E. Washington Street, Suite 700, Indianapolis, Indiana 46204.
2
 Capitalized terms used but not defined herein shall have the meanings and definitions ascribed to them in the
Motion.
Case 18-09108-RLM-11              Doc 260        Filed 02/15/19         EOD 02/15/19 15:39:55              Pg 2 of 7



this information, the Debtor cannot demonstrate that it is exercising its business judgment in
                           3
assuming the contract. Spencer Stuart is a reputable firm. However, the Debtor must show the

Court that it is properly exercising its business judgment by disclosing the status of the search
          4
process. This information is pertinent as the Debtor continues to pay two firms for interim

management and, as the Debtor testified at the first meeting of creditors conducted on February

7, 2019, has four directors who collectively are filling the role of the chief executive officer.

                                                  OBJECTION

A.       Legal Standard

         2.       Before this Court can approve assumption of the Spencer Stuart Contract, it must

conclude, at a minimum, that assumption reflects the proper business judgment of the Debtor. In

re Genco Shipping & Trading Ltd., 509 B.R. 455, 462-64 (Bankr. S.D.N.Y. 2014); In re Decora

Indus., 2002 Bankr. LEXIS 27031, at *22-23 (D. Del. May 20, 2002). The relevant test is

whether assumption of the contract will benefit the estate. Genco, 509 B.R. at 463. Although

the business judgment rule is traditionally deferential, it is not without limits. In re Innkeepers

USA Trust, 442 B.R. 227, 236 (Bankr. S.D.N.Y. 2010) (finding debtors had not articulated a

sufficient business justification for a plan support agreement).

         3.       In order to justify the assumption of the Spencer Stuart Contract, the Debtor must

show at a minimum that such assumption is supported by its sound business judgment, which


3
 The Sexual Abuse Survivors’ Committee requested information about the undisclosed costs of assuming the
Spencer Stuart Contract, and understands that in addition to the $83,334 of payments due under the contract,
Spencer Stuart will (a) be paid approximately $12,500 of administrative costs and expense reimbursement and (b)
not be paid a discretionary bonus without further order of the Court. Based on that information, the Sexual Abuse
Survivors’ Committee does not object to the economics of the assumption.
4
  The Debtor has not provided this information to the Sexual Abuse Survivors’ Committee because the parties still
are negotiating a confidentiality agreement. In the Motion, the Debtor states that the selection process is close to
completion but provides no other information about the status of the search, e.g. how many finalists have been
identified, has a candidate received an offer and what process remains before announcing the hiring.


                                                          2
Case 18-09108-RLM-11            Doc 260       Filed 02/15/19       EOD 02/15/19 15:39:55            Pg 3 of 7



judgment must be exercised fairly, and without prejudice to parties in interest. See In re Nortel

Networks, Inc., 2011 Bankr. LEXIS 3971, at *21 (Bankr. D. Del. July 11, 2011) (finding that

assumption and assignment of contracts was “in the best interests of the Debtors, their estates,

their creditors, and all parties in interest”); Trak Auto Corp. v. Ramco-Gershenson (In re Trak

Auto Corp.), 2002 Bankr. LEXIS 938, at *6 (Bankr. E.D. Va. Jan. 9, 2002) (court must “evaluate

debtor’s business judgment by considering the impact of the debtor’s decision on a variety of

parties as well as the impact on debtor’s estate”).

B.      Discussion

        4.       The Motion is devoid of any evidence demonstrating that assumption of the

Spencer Stuart Contract is a proper exercise of the Debtor’s business judgement. No declaration

was filed with the Motion and there is no evidentiary basis to grant it. The only statement

regarding the search process is that “USAG has been working closely with Spencer Stuart over

the last four months and is close to completing (subject to this Court’s approval) its Chief

Executive Officer candidate selection process with Spencer Stuart.” [Motion, ¶ 5.]

        5.       The Spencer Stuart Contract requires the Debtor to prepay Spencer Stuart

$125,000 to conduct an executive search for a replacement CEO. As a gating issue, the Debtor
                                                                                       5
should disclose whether it has already retained or selected a CEO candidate. If it has or if

Spencer Stuart has completed its role in the recruiting process, there is no reason to assume the

Spencer Stuart Contract and cure the remaining $83,334 due under the agreement because there

is nothing left for Spencer Stuart to do. If it has not, then the Debtor must demonstrate that




5
 Despite inquires, the Sexual Abuse Survivors’ Committee does not know whether the Debtor has selected a new
CEO.


                                                      3
Case 18-09108-RLM-11           Doc 260    Filed 02/15/19     EOD 02/15/19 15:39:55         Pg 4 of 7



Spencer Stuart is likely to succeed in its task before incurring the cost of continuing under the

Spencer Stuart Contract.

       6.      The Debtor must prepay the entire fee owed to Spencer Stuart prior to the

selection of a CEO candidate effectively giving it an exclusive listing agreement. Spencer Stuart

apparently is not required to refund this payment if the Debtor does not hire any CEO based on

Spencer Stuart’s efforts. The Debtor should only agree to pay a fee to a search firm that actually

assists its hiring of a CEO.

       7.      The only justification described in the Motion in favor of assumption of the

Spencer Stuart Contact is that the Debtor will have to “restart the search, wasting time and

resources already expended to find a qualified candidate.” [Motion, ¶ 11.] The Spencer Stuart

Contract is dated as of October 3, 2018, but the Motion is silent about the efforts, if any, made by

Spencer Stuart to date in recruiting a CEO candidate and what search efforts would presumably

be wasted in the relatively short period of time that Spencer Stuart was engaged. The Debtor

disclosed background information regarding the search to the Sexual Abuse Survivors’

Committee, including which members of the board are involved in the search, Spencer Stuart’s

efforts to understand the requirements for a CEO candidate, and the number of candidates

interviewed. However, the Debtor has not disclosed the current status of the search. The Debtor

should disclose the information it provided to the Sexual Abuse Survivors’ Committee, as well

as (a) whether the Debtor has extended an offer to a candidate, and (b) the status of any offer,

including without limitation whether the candidate has accepted, will accept pending assumption

of the Spencer Stuart Contract, will receive the offer from Spencer Stuart pending assumption of

the Spencer Stuart Contract or has rejected the offer. The Motion makes none of these basic

disclosures in asking the Court to approve the Motion.




                                                 4
Case 18-09108-RLM-11         Doc 260        Filed 02/15/19    EOD 02/15/19 15:39:55       Pg 5 of 7



       8.      The assumption of the Spencer Stuart Contract contains additional burdens that

would run with the assumed contract. If the Debtor suspends the CEO search for more than 90

days, Spencer Stuart may consider its obligations as satisfied and its fees earned. Any re-

engagement after the 90 day period would require another engagement agreement and,

presumably, another fee payable to Spencer Stuart. [See Spencer Stuart Contract, p. 7 at ¶ 2.]

As such, the Debtor should disclose where it is in the process in order to allow the Court to

determine that it is exercising its business judgment and not merely committing to pay

approximately $95,000 in a futile effort.

       9.      The Sexual Abuse Survivors’ Committee submits that the Debtor has not met its

legal or evidentiary burden required to assume the Spencer Stuart Contract and requests that the

Motion be denied.

       WHEREFORE, the Sexual Abuse Survivors’ Committee request that the Court deny the

requested relief in the Motion, and grant such other and further relief the Court deems just and

appropriate.

                                               Respectfully submitted,

                                               PACHULSKI STANG ZIEHL & JONES LLP

Dated: February 14, 2019                       /s/ James I. Stang
                                               James I. Stang, Esq. (admitted pro hac vice)
                                               Ilan D. Scharf, Esq. (admitted pro hac vice)
                                               Joshua M. Fried, Esq.
                                               10100 Santa Monica Blvd., 13th Floor
                                               Los Angeles, CA 90067-4003
                                               Telephone: (310) 277-6910
                                               Facsimile: (310) 201-0760
                                               E-mail: jstang@pszjlaw.com
                                                        isharf@pszjlaw.com
                                                        jfried@pszjlaw.com

                                                      -and-




                                                  5
Case 18-09108-RLM-11         Doc 260     Filed 02/15/19     EOD 02/15/19 15:39:55        Pg 6 of 7



                                             RUBIN & LEVIN, P.C.

                                             /s/ Meredith R. Theisen
                                             Meredith R. Theisen, Esq.
                                             Deborah J. Caruso, Esq.
                                             135 N. Pennsylvania Street, Suite 1400
                                             Indianapolis, IN 46204
                                             Telephone: (317) 634-0300
                                             Facsimile: (317) 263-9411
                                             Email: dcaruso@rubin-levin.net
                                                    mtheisen@rubin-levin.net

                                             Counsel for the Sexual Abuse Survivors’ Committee

                                CERTIFICATE OF SERVICE

       I hereby certify that on February 14, 2019, a copy of the foregoing Objection of the
Additional Tort Claimants Committee of Sexual Abuse Survivors to Debtor’s Motion for Order
Authorizing the Debtor to Assume Executory Contract with Spencer Stuart Pursuant to 11 U.S.C.
§ 365 was filed electronically. Notice of this filing will be sent to the following parties through
the Court’s Electronic Case Filing System. Parties may access this filing through the Court’s
system.

Steven Baldwin sbaldwin@psrb.com, rmatthews@psrb.com
Martin Beeler mbeeler@cov.com
Daniel D. Bobilya dan@b-blegal.com, sarah@b-blegal.com
Tonya J. Bond tbond@psrb.com, jscobee@psrb.com
Kenneth H. Brown kbrown@pszjlaw.com
John Cannizzaro john.cannizzaro@icemiller.com, Deborah.Martin@icemiller.com
Deborah Caruso dcaruso@rubin-levin.net, dwright@rubin-levin.net;jkrichbaum@rubin-
levin.net;atty_dcaruso@bluestylus.com
Dianne Coffino dcoffino@cov.com
Laura A DuVall Laura.Duvall@usdoj.gov, Catherine.henderson@usdoj.gov
Steven W Golden sgolden@pszjlaw.com
Manvir Singh Grewal mgrewal@4grewal.com
Katherine Hance khance@goodwin.com
Jeffrey M. Hester jhester@hbkfirm.com, mhetser@hbkfirm.com
Jeffrey A Hokanson jeff.hokanson@icemiller.com, kathy.peed@icemiller.com
Adam L. Kochenderfer akochenderfer@wolfsonbolton.com
Martha R. Lehman mlehman@salawus.com,
marthalehman87@gmail.com;pdidandeh@salawus.com;lengle@salawus.com
Geoffrey M. Miller geoffrey.miller@dentons.com, ndil_ecf@dentons.com
Robert Millner robert.millner@dentons.com, ndil_ecf@dentons.com
James P Moloy jmoloy@boselaw.com,
dlingenfelter@boselaw.com;mwakefield@boselaw.com
Ronald J. Moore Ronald.Moore@usdoj.gov
Whitney L Mosby wmosby@bgdlegal.com, fwolfe@bgdlegal.com


                                                6
Case 18-09108-RLM-11                      Doc 260           Filed 02/15/19             EOD 02/15/19 15:39:55   Pg 7 of 7



Joel H. Norton jnorton@rsslawoffices.com
Dean Panos dpanos@jenner.com
Amanda Koziura Quick amanda.quick@atg.in.gov,
Darlene.Greenley@atg.in.gov;Hunter.Schubert@atg.in.gov
Michael L. Ralph mralph@rsslawoffices.com
Melissa M. Root mroot@jenner.com, wwilliams@jenner.com
James Pio Ruggeri jruggeri@goodwin.com
Syed Ali Saeed ali@sllawfirm.com, betty@sllawfirm.com
Ilan D Scharf ischarf@pszjlaw.com
Thomas C Scherer tscherer@bgdlegal.com, fwolfe@bgdlegal.com
David J. Schwab djschwab@rsslawoffices.com
James I. Stang jstang@pszjlaw.com
Catherine L. Steege csteege@jenner.com, mhinds@jenner.com;thooker@jenner.com
Meredith R. Theisen mtheisen@rubin-levin.net,
atty_mtheisen@bluestylus.com;mralph@rubin-levin.net
U.S. Trustee ustpregion10.in.ecf@usdoj.gov
Joshua D Weinberg jweinberg@goodwin.com
Mark R. Wenzel mwenzel@salawus.com, pdidandeh@salawus.com
Gabriella B. Zahn-Bielski gzahnbielski@cov.com

       I hereby further certify that on February 14, 2019, a copy of the foregoing Objection of
the Additional Tort Claimants Committee of Sexual Abuse Survivors to Debtor’s Motion for
Order Authorizing the Debtor to Assume Executory Contract with Spencer Stuart Pursuant to 11
U.S.C. § 365 was served via electronic mail to the following:

United States Olympic Committee: Chris McCleary at Chris.McCleary@usoc.org
The Alexander, a Dolce Hotel & Wyndham Hotel Group, LLC: Daniel M. Eliades at
daniel.eliades@klgates.com and David S. Catuogno at david.catuogno@klgates.com

                                                                       /s/ Meredith R. Theisen
                                                                       Meredith R. Theisen
f:\wp80\genlit\usa gymnastics-86756901\drafts\objection spencer stuart motion - final.docx




                                                                      7
